               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                    Civil Case No. 1:10-cv-00277-MR
              [Criminal Case No. 1:05-cr-00248-MR-DLH-1]


DANNY JOE BROOKS,         )
                          )
             Petitioner,  )
                          )
    vs.                   )               MEMORANDUM OF
                          )               DECISION AND ORDER
UNITED STATES OF AMERICA, )
                          )
             Respondent.  )
                          )

       THIS MATTER comes before the Court on consideration of the

Petitioner’s Motion to Vacate, Set Aside or Correct Sentence, filed pursuant

to 28 U.S.C. § 2255 [Doc. 1]; Respondent’s Motion to Dismiss the § 2255

petition [Doc. 6]; and Petitioner’s Motions to Supplement [Docs. 15, 16].

For the reasons that follow, Petitioner’s motions to supplement will be

granted; Respondent’s motion to dismiss will be granted; and Petitioner’s

motion to vacate will be denied and dismissed.

I.     FACTUAL AND PROCEDURAL BACKGROUND

       On October 4, 2005, Petitioner and others were indicted by the grand

jury in this District on counts related to the production and distribution of

controlled substances. Count 1 charged that from on or about December



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2004, until on or about June 1, 2005, Petitioner and co-defendant Robert

Cody possessed pseudoephedrine, a listed chemical as defined in 21

U.S.C. § 802, with the intention of manufacturing methamphetamine. The

offense was alleged to have involved over 100 grams of pseudoephedrine,

all in violation of 21 U.S.C. §§ 841(a)(1) and 841(c).              In Count 2, the

indictment alleged that from on or about December 2004 until March 2005,

Petitioner   and    others   conspired       to   attempt   to   manufacture       and

manufactured       with   intent   to   distribute    at    least     50   grams      of

methamphetamine, all in violation of 21 U.S.C. §§ 846 and 841. [Criminal

Case No. 1:05-cr-00248, Doc. 1: Indictment].

      On December 14, 2005, Petitioner, through counsel, filed a motion to

suppress certain evidence, including drug paraphernalia and materials

related to the production and distribution of methamphetamine, seized by

state authorities during their investigation of Petitioner.            [Id., Doc. 52:

Motion to Suppress]. On February 8, 2006, Petitioner’s motion to suppress

came on for hearing before U.S. Magistrate Judge Dennis L. Howell. The

testimony presented by the Government at that hearing focused on a

search of a residence located at 92 Arrowwood Way, the resident of Jerry

Henson, the father of Petitioner’s co-defendant Michelle Henson.                Jerry

Henson testified that he found a cooler upstairs in his house. Suspecting


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that   the   cooler   may   have   been      rigged   for   the    production      of

methamphetamine, Mr. Henson contacted the Sheriff’s Office to report his

observation and express his concern for his safety and the safety of his

home. Deputies met with Mr. Henson at the home and after examining the

cooler surmised that it was, in fact, actively employed in the production of

methamphetamine. The deputies found Petitioner and Ms. Henson in an

upstairs bedroom. The home was then evacuated for everyone’s safety.

[Id., Doc. 103: Memorandum and Recommendation at 2-4].

       Petitioner and Ms. Henson were placed in handcuffs and seated in

separate patrol cars. After the deputies secured the scene they applied for

and were issued a search warrant and an order preventing the destruction

of evidence by a state superior court judge. Evidence was seized from the

Henson residence and apparently relied upon by the Government in an

effort to secure the two-count indictment.

       In his motion to suppress, Petitioner contended that he had a

reasonable expectation of privacy in the upstairs of the Henson home even

though he never expressed this to law enforcement at the time they

conducted the initial investigation that led to the discovery of the active

production of methamphetamine. Mr. Henson did testify that he had an




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oral rental agreement with Michelle, but that he had no such agreement

with Petitioner.

      The Magistrate Judge ultimately concluded that Petitioner lacked

standing to challenge the search of Mr. Henson’s home because there was

no indication that he presently lived there, other than his presence in an

upstairs bedroom on a Saturday, or that he had any reasonable

expectation of privacy in the residence.       The Magistrate Judge further

found that even if Petitioner had standing to contest the search, Mr.

Henson’s consent to search the residence was valid, as the evidence

provided no indication that the upstairs was reserved as an exclusive

apartment or residence for Petitioner.     The Magistrate Judge therefore

recommended denying his motion to suppress any evidence obtained from

the search.    [Id. at 6].   Petitioner objected to the Magistrate Judge’s

recommendation, but the Court accepted it and denied the motion to

suppress. [Id., Doc. 118: Order].

      Following the denial of his motion to suppress, Petitioner entered into

a written plea agreement with the Government and agreed to plead guilty

to Count 2 in exchange for the dismissal of Count 1 while also preserving

his right to appeal the denial of his motion to suppress. [Id., Doc. 108: Plea

Agreement ¶ 19]. Interestingly, however, Petitioner entered into this plea


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agreement and pleaded guilty before the Court ruled on the Motion to

Suppress, apparently anticipating that the Court would accept the

Magistrate Judge’s recommendation.

      On February 27, 2006, Petitioner appeared with counsel for his Plea

and Rule 11 hearing. At the hearing, the Government summarized the

various provisions of the written plea agreement, including provisions

waiving Petitioner’s ability to appeal his criminal judgment or contest it

through a collateral proceeding. In particular, the agreement provided as

follows:

            Defendant, in exchange for the concessions made
            by the United States in this plea agreement, waives
            all such rights to contest the conviction and/or the
            sentence except for: (1) claims of ineffective
            assistance of counsel and/or (2) prosecutorial
            misconduct, and (3) the court’s ruling as to his
            suppression motion.

[Id., Doc. 108: Plea Agreement ¶ 19].

      Petitioner confirmed to the Magistrate Judge that his plea was

voluntary and not the result of any coercion, threats, or promises in any

way; that he had met with his defense attorney and had an opportunity to

discuss any possible defenses to the charges; that he believed he

understood how the sentencing guidelines might apply to him; and that he

was entirely satisfied with the services of his attorney.


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         The Court’s questions, along with Petitioner’s answers to them, were

recorded and presented to Petitioner in writing to review. Petitioner

reviewed the document in open court and signed it. Thereafter, the

Magistrate Judge accepted Petitioner’s guilty plea after finding that it was

both knowing and voluntary. [Id., Doc. 111: Acceptance and Entry of Guilty

Plea].

         After the probation officer prepared Petitioner’s presentence report

(PSR), the Government filed a motion for a downward departure pursuant

to U.S.S.G. § 5K1.1 and for a variance pursuant to 18 U.S.C. § 3553(a)

contending that Petitioner had provided substantial assistance with its

investigation and prosecution of other individuals. [Id., Doc. 141]. On May

2, 2007, the Petitioner appeared for his sentencing hearing before the

Honorable Lacy H. Thornburg. The Court dismissed Count 1 of his

Indictment, granted the Government’s motion for departure, and sentenced

Petitioner to a term of 220 months’ imprisonment to be followed by five

years of supervised release. Judgment was entered on May 11, 2007, and

Petitioner is presently serving this sentence.1

         On April 24, 2008, Petitioner filed a § 2255 motion to vacate, arguing

that his trial counsel failed to file a notice of direct appeal even after being

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  This habeas proceeding and Petitioner’s criminal case were assigned to the
undersigned following Judge Thornburg’s retirement.
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specifically instructed to do so. The Court granted the § 2255 motion after

finding that failure to file a direct appeal in this circumstance constitutes

ineffective assistance of counsel.       Petitioner’s criminal judgment was

vacated and an amended judgment was entered which contained the same

provisions from the original judgment. Petitioner thereafter filed a direct

appeal to the United States Court of Appeals for the Fourth Circuit in an

effort to challenge his sentence. [Civil Case No. 1:08-cv-00190-LHT; Doc.

2: Memorandum and Order].

     The Government moved to dismiss the appeal citing Petitioner’s

explicit appellate waiver in his plea agreement.     The Court granted the

motion after finding that Petitioner had knowingly and voluntarily waived his

right to appeal his sentence and that his appeal fell squarely within the

scope of the waiver. United States v. Brooks, No. 08-4547 (4th Cir. July

13, 2009) (unpublished).

     The present § 2255 motion follows this dismissal. In this collateral

proceeding, Petitioner argues claims of ineffective assistance of counsel at

both the trial and appellate level.       [Doc. 2: § 2255 Memorandum].

Specifically, Petitioner contends that his guilty plea was not knowingly and

voluntarily entered when his trial counsel “misled” him regarding the

possible maximum statutory penalties. Petitioner further argues that his


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trial counsel was not properly prepared to represent him at the suppression

hearing before Judge Howell, and that he was denied the right to effective

assistance of counsel after trial counsel failed to file a direct appeal when

instructed to do so.2 The Government has filed a motion to dismiss to

which Petitioner has filed a response. Having been fully briefed, this matter

is now ripe for disposition.

II.     STANDARD OF REVIEW

        Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions

to vacate, along with “any attached exhibits and the record of prior

proceedings” in order to determine whether a petitioner is entitled to any

relief. The Court has considered the record in this matter and applicable

authority and concludes that this matter can be resolved without an

evidentiary hearing. See Raines v. United States, 423 F.2d 526, 529 (4th

Cir. 1970).




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 The claim regarding failure to file a direct appeal has been disposed of by Judge
Thornburg’s Order granting Petitioner’s initial § 2255 motion and therefore will not be
addressed any further herein.
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III.     DISCUSSION

         A.     Ineffective Assistance of Counsel Claims

         In order to prevail on a claim of ineffective assistance of counsel, a

petitioner must show that: (1) “counsel’s representation fell below an

objective standard of reasonableness,” and (2) “the deficient performance

prejudiced the defense.” Strickland v. Washington, 466 U.S. 668, 687-88

(1984).        In measuring counsel’s performance, there is “a strong

presumption that counsel’s conduct falls within the wide range of

reasonable professional assistance.”        Id. at 689, 104 S.Ct. 2052. A

petitioner seeking post-conviction relief bears a “heavy burden” to

overcome this presumption. Carpenter v. United States, 720 F.2d 546, 548

(8th Cir. 1983). Conclusory allegations do not overcome the presumption

of competency. Id.

         To demonstrate prejudice in the context of a guilty plea, Petitioner

must still satisfy the standard set forth in Strickland.       In regard to the

second prong, Petitioner must demonstrate that he was prejudiced by

ineffective assistance of counsel by showing “a reasonable probability that,

but for counsel’s errors, he would not have pleaded guilty and would have

insisted on going to trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985).




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        Under these circumstances, Petitioner “bears the burden of proving

Strickland prejudice.” Fields v. Attorney Gen. of Md., 956 F.2d 1290, 1297

(4th Cir. 1992) (citing Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th

Cir. 1983), cert. denied, 464 U.S. 1065 (1984)). If Petitioner fails to meet

this burden, “a reviewing court need not consider the performance prong.”

Fields, 956 F.2d at 1297 (citing Strickland, 466 U.S. at 697). In considering

the prejudice prong of the analysis, the Court must not grant relief solely

because Petitioner can show that, but for counsel’s performance, the

outcome of the proceeding would have been different.                See Sexton v.

French, 163 F.3d 874, 882 (4th Cir. 1998). Rather, the Court “can only

grant relief under the second prong of Strickland if the ‘result of the

proceeding was fundamentally unfair or unreliable.’” Id. (quoting Lockhart

v. Fretwell, 506 U.S. 364, 369 (1993)).

        Petitioner first argues that his trial counsel was ineffective under the

Sixth    Amendment       in   failing   to    challenge   the   classification      of

methamphetamine by the Attorney General of the United States. [Doc. 2 at

6]. Specifically, Petitioner argues that counsel was ineffective in failing to

challenge the Attorney General’s authority to reclassify methamphetamine

as a Schedule II substance even though such authority was granted by

Congress. Challenges of this nature have been flatly rejected by the many


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courts to consider this issue. See, e.g., United States v. Roark, 924 F.2d

1426, 1428-29 (8th Cir. 1991) (discussing express statutory authority of the

Attorney General, or his designee, to add substances to 21 U.S.C. § 812,

that is, to transfer substances between Schedules); United States v.

Burnes, 816 F.2d 1354, 1359-60 (9th Cir. 1987) (rejecting argument

regarding improper transfer of methamphetamine from Schedule III to

Schedule II); United States v. Benenhaley, 95 F. App’x 501, 504 (4th Cir.

2004) (rejecting challenge to Attorney General’s authority under 21 U.S.C.

§ 811 to transfer a drug from one schedule to another). See also 21 C.F.R.

§ 1308.12(d)(2) (1999) (providing that “methamphetamine, its salts,

isomers and salts of isomers” are Schedule II controlled substances). For

the foregoing reasons, because trial counsel’s argument in challenging the

schedules would have been meritless, Petitioner has failed to demonstrate

that he could be entitled to relief under either prong of Strickland.

      Petitioner further argues that his counsel was deficient by misleading

him regarding the possible maximum penalties upon conviction. Petitioner

appears to contend that he believed he was only facing a maximum of five

years in prison prior to his entry of a guilty plea. As a consequence, as he

argues, his plea was not knowingly and voluntarily entered. [Doc. 2 at 11-

12]. The Government argues that Petitioner is procedurally barred from


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raising this claim in a collateral proceeding because he failed to raise the

claim on direct appeal.

      A petitioner may be procedurally barred from presenting a claim in a

collateral proceeding if he does not raise it on direct appeal. See Bousley

v. United States, 523 U.S. 614, 621 (1998) (“Habeas review is an

extraordinary remedy and will not be allowed to do service for an appeal.”)

(internal citations and quotation marks omitted). Petitioner did not raise this

claim on direct review, rather according to the Fourth Circuit’s per curiam

opinion Petitioner only raised a challenge regarding his sentence.           As

noted, the Fourth Circuit found that Petitioner knowingly and voluntarily

waived his ability to challenge his sentence on direct appeal, as

memorialized in his plea agreement.        His direct appeal was therefore

dismissed.

      The Petitioner is procedurally barred from presenting this claim

because he could have raised it on direct appeal. In addition, the record

does not support Petitioner’s claim. At his Rule 11 hearing Petitioner was

informed, in no uncertain terms, that he faced a minimum of ten years’

imprisonment upon conviction on Count 2 and a maximum of life

imprisonment. Therefore, the Petitioner cannot now argue that he was

prejudiced by any misinformation from counsel regarding his maximum


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sentence. He acknowledged to the Magistrate Judge that he understood

the correct possible maximum penalties that he faced upon conviction. See

United States v. Lambey, 974 F.2d 1389, 1395 (4th Cir. 1992) (en banc)

(“[I]f the information given by the court at the Rule 11 hearing corrects or

clarifies the earlier [allegedly] erroneous information given by the

defendant’s attorney and the defendant admits to understanding the court’s

advice, the criminal justice system must be able to rely on the subsequent

dialogue between the court and defendant.”).                 For these reasons, this

ground for relief will be denied.

      Petitioner   argues    that     his        trial   counsel   provided     deficient

representation under Strickland in the hearing on his motion to suppress.

[1:10-cv-00277, Doc. 2 at 13]. The Court has reviewed the evidence

contained in the presentence report, the transcript of the suppression

hearing, the motion to suppress, the Memorandum and Recommendation

filed by Judge Howell, and Judge Thornburg’s Order, and finds that

Petitioner’s argument is without merit. As noted by Judge Howell, the

evidence simply did not establish that Petitioner had a constitutionally

protected privacy interest in a search of another’s man’s home. There was

no credible evidence to demonstrate that Petitioner was renting the place

from Mr. Henson or that Mr. Henson’s express consent to search the


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upstairs for evidence of methamphetamine production was otherwise not

valid to allow deputies to enter the home and conduct the search.

     Further, the transcript demonstrates that trial counsel provided a

vigorous effort to suppress the evidence in question. Counsel’s ultimate

failure to convince the presiding judge that suppression was warranted

cannot serve to present any actionable claim under Strickland in this

collateral proceeding. This argument will be overruled.

     Petitioner also argues that his appellate counsel was deficient in

failing to challenge the denial of the motion to suppress. [Doc. 2 at 16-17].

While it is true that Petitioner reserved the right to challenge the Court’s

denial of his suppression motion in his plea agreement, there is no

reasonable likelihood that such an appeal would have been successful in

light of the strong evidence presented against Petitioner, and the fact that

the Fourth Amendment jurisprudence simply did not support his argument.

     It is axiomatic that appellate counsel is afforded a wide berth in

deciding which issues to present on appeal. See Jones v. Barnes, 463

U.S. 745, 751-54 (1983); Gonzalez v. United States, 553 U.S. 242, 248 n.9

(2008) (“Thus, decisions by counsel are generally given effect as to what

arguments to pursue . . .”); Fisher v. Lee, 215 F.3d 438, 457 (4th Cir.

2000). The Court finds that Petitioner has failed to carry his burden of


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showing he is entitled to any relief on this claim and it will therefore be

denied.

      B.    Motions to Supplement the Record

      After the Government filed its motion to dismiss, Petitioner filed two

motions to supplement the record. In these motions, Petitioner contends

that a prior North Carolina conviction for assault on a female, although valid

at the time he was sentenced, was vacated by the state court in 2012.

Petitioner now argues that he should be entitled to sentencing relief

because the assault on a female charged earned him one criminal history

point and moved him from a Category IV criminal history to a Category V.

[Docs. 15, 16].

      Petitioner argues that his trial counsel was ineffective in failing to

properly challenge the use of the assault on a female conviction. Petitioner

maintains that he informed his trial counsel prior to sentencing that the

assault on a female conviction was invalid but he never took any action.

Petitioner maintains that (1) he was not guilty of the offense; (2) and that

the complainant, Clara Jo Caldwell, would admit to falsifying the charge if

approached by trial counsel. [Doc. 16 at 2]. Petitioner does not argue,

however, that the conviction was not in effect at the time of his sentencing

hearing. Likewise, he does not assert that the Court improperly relied upon


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the conviction in assessing a criminal history point. [See Criminal Case No.

1:05-cr-00248, Doc. 196: PSR ¶ 56].

      Petitioner concedes that the complaining victim lied before a state

court and may have presented false testimony leading to his conviction

during the state court trial.   Petitioner does not, however, present any

factual basis on which there would be a reasonable likelihood that the state

court conviction would have been overturned so as to decrease his

Criminal History Category. Thus, counsel’s actions in this case were not

ineffective under Strickland.

      Moreover, in his plea agreement, Petitioner agreed that he would be

foreclosed from raising any challenges to his conviction or sentence except

for claims of ineffective assistance of counsel, and in the present case,

neither of those exceptions apply to the substance of Petitioner’s argument:

that his Criminal History Category was improperly calculated. See United

States v. Lemaster, 403 F.3d 216, 220 (4th Cir. 2005) (“[A] criminal

defendant may waive his right to attack his conviction and sentence

collaterally, so long as the waiver is knowing and voluntary.”). And as the

Fourth Circuit has already explained, Petitioner’s decision to waive his right

to contest his sentence was both knowingly and voluntarily entered. See

Boeckenhaupt v. United States, 537 F.2d 1182, 1183 (4th Cir. 1976) (In a

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Section 2255 proceeding, a petitioner “will not be allowed to recast, under

the guise of a collateral attack, questions fully considered” and decided on

direct appeal).    Therefore, this Court is bound by the Fourth Circuit’s

determination and the waiver of his right to contest his sentence will be

enforced in this collateral proceeding.

IV.   CONCLUSION

      Based on the foregoing, the Court finds that Petitioner’s § 2255

motion, as supplemented, is without merit and it will be denied and

dismissed.

      Further, pursuant to Rule 11(a) of the Rules Governing Section 2255

Cases, the Court declines to issue a certificate of appealability as Petitioner

has not made a substantial showing of a denial of a constitutional right. 28

U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in

order to satisfy § 2253(c), a petitioner must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims

debatable or wrong); Slack v. McDaniel, 529 U.S. 473, 484 (2000) (holding

that when relief is denied on procedural grounds, a petitioner must

establish both that the correctness of the dispositive procedural ruling is

debatable, and that the petition states a debatably valid claim of the denial

of a constitutional right).


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                               ORDER

      IT IS, THEREFORE, ORDERED that:

      1.     Respondent’s Motion to Dismiss [Doc. 6] is GRANTED;

      2.    Petitioner’s Motions to Supplement the Record [Docs. 15, 16]

            are ALLOWED; and

      3.    Petitioner’s Motion to Vacate, Set Aside or Correct Sentence

            [Doc. 1], as supplemented, is DENIED and DISMISSED.

      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, the Court declines to issue a certificate of

appealability.

      IT IS SO ORDERED.

                                   Signed: January 27, 2014




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